Page: 1

Filed: 04/17/2023

Document: 6

Case: 23-3219

a the United etates Court of Apps (
RECEIVED” Foc the Sixth Girtush
APR 1% 2023

DEBORAH S. HUNT, Clerk
Robert B. LeadbetHer

Petitioner - Appellant

VV. Appeal No: 43-2a19
« 3 . Os iy ott ? ‘ ‘
United States of America, Soe) + AY -br- 00137 -/

Kesponclext 2 Appellee

Notion For Lssyane of 4 CerhFeafe
OF Appealability

| V6 -&e. standard: The Pleadings of a Petiton
draFted by a fr0- be lifigand , are held fo. q
[€6% 6dringent standavd than Format Pleadings
dratted by Janyers. And will be hnberathy
Conswued, see: Haines Kerner, 404 Ys 519
(/972) Urbian yp. Thomas , Ai)b fF. al AGA, AI
(o™ ar si),
Page: 2

Filed: 04/17/2023

Document: 6

Case: 23-3219

En the United states Cbur+ of Appeals
For the SIkt4A Crretyt

Kobert B. Lede ter,
Pehtone- Appellant j |
Vv: pyre No, @3 BANF
United States of Amer 14g , O"\ enacting Case Nd 1 Qi -ar-Soidy?
Respondent - Appelle

Nietion For Tesuance of ao Cart Ficate
7 OF Appeolabi ity oF

Comes Now Fhe pehtoner , Robert B. Ledbetter ) LD po £8,
/ necessity, crnd hereby moves this Court to jsbue 2
Cerificate vf Appealability pursuant fo 6.6. 8 2A (c)C2) .
Mir Ledbetter seeks 6:0.4.. Quthorizing him fo apper! he
Aenjal oF Wis 98 USC ak55 Motion to Vacade , Set Aside
Correct Bentence, Se! Black v: Mpemiel, 5a¢ US. 73, YBY ,
120 8-G. 1595 Itty LiEd ad 54a (300), Miller-E] v Cockvel|, |
63.) Ys. 3 Aa 193 3 +t: 1029 , 1037 , sy Le Ed. Ad 93/ (3003) . |

Mfr. Ledbetter geeks COA hased oon the. Corts perisal fe
Sohisty the rele? requested in tus § 9955 mohon. The Court, by
refusing do admip fhe trofh and/ oy fealty of My. Ledbet pers
Claims stands in Violatjon of 4B U-8-C.8 Zay3 pen Plein CVV Op
Moreover Mr Ledbetter avere that he seexs C04. for good

Cause pased Lpon the Diéiriy Cowts deliberate /ndi\FFerence
to Cour} rule, la and/r Conshituhonal mandates -

@

Page: 3

Filed: 04/17/2023

Document: 6

Case: 23-3219

When yedgineat ig arompty get forth Mn a seperate
Doesament, 43 6Bhovid be done whey required by Fed. Rvtiv. Pi,
hake SBlb)Ci)(c), the Ame fOr seeing On eppeal From foe
final Order pégins fo run. But 7a fas case ja whie the
Court and clerk taj) fo comphk) wyth Thi's Simp be (equi vemert ,
the Aime. p appeal begins to run afer Lara or OF /50
cays fin entry oF the judgment mn the civ] deewek as
epured by hule 7914). $e¢ Federal Rules OF Appelarre
Pocedare, Rule AAMT) (4 (Ui) , whith g4+ates jh prhibent part ‘
: yY vdginent or order is micas For purpose oF Hrs
Rete Ala) i¢ Federal Rule Civ) Procedure SO(a) required a seperate
document | wht fhe jedginent er order i's entered 1a the c/v7/
docket under Fedéral Rule st Cal Proceclure TH (q) and ume the
eowlier bY these eveats oreurs) /SO days heave run from entry oF
4+he jedgrnemnf om brder jy the crn) docket uncler Pederal Rule
of Givi! Procedure 7964)",

TL. STATEMENT. OF _TURIS DIET WIV

" The Jovy sch; ection tod issue a C.O/- Is invoked Purse ane
te ADU5 68 1A9/: 8 aassi3 aass: Fecleral Rule of Cr)
Procedure Kyte 58: and Federal Rule of Appellant Preveclare ,
Rule Flal(WA) ii)”.

Stobement pe the case,

cee. Dockel aleet Attached |

yp :06bed

€c0¢/Z1/V0 -Pel!s

9 :JuduuND0q

61 cE-Ee -8SED
Page: 5

Document: 6

Case: 23-3219

Filed: 04/17/2023

Livi OP Liv bh - Uo. District Court OUSD

Page 1 of 11

U.S. District Court

Southern District of Ohio (Columbus)
CRIMINAL DOCKET FOR CASE #: 2:14-cr-00127-ALM-1

Case title: USA v. Ledbetter et al

Date Filed: 06/23/2014

Interested Party
Russ Aoki

Assigned to: Judge Algenon L. Marbley

Defendant (1)

Robert B. Ledbetter
alse known as
Brandon

also known as

Killer B

aiso known as

"Br

Pending Counts

RACKETEERING

(1)

RACKETEERING CONSPIRACY
(Is)

RACKETEERING ACTIVITY,

MURDER/KIDNAPPING
(4

represented by Jeffrey Allen Berndt

575 S High Street

Columbus, OH 43215
614-280-9300

Fax: 614-280-0138

Email: jberndt84@yahoo.com
LEAD ATTORNEY
ATTORNEY TO BE NOTICED
Designation: CJA Appointment

Richard Allen Cline

Cline, Mann & Company LLC

97 South Liberty Street

Powell, OH 43065

(614) 987-8000:

Fax: 614-987-8015

Email: RCline@A ttorneyCline.Com
LEAD ATTORNEY

ATTORNEY TO BE NOTICED
Designation: CJA Appointment

Disposition

| y
file://C:/Users/j effrey/AppData/Local/Temp/Low/3HFDHGSA htm H) 5/30/2015

Page: 6

Filed: 04/17/2023

Document: 6

Case: 23-3219

CM/8CE LIVE - U.S. District Court: OSD

MURDER IN AID OF
RACKETEERING
(4s) .
RACKETEERING ACTIVITY,
MURDER/KIDNAPPING

OY) S
MURDER IN AID OF
RACKETEERING
(9s)
VIOLENT
CRIME/DRUGS/MACHINE GUN
WHERE DEATH OCCURS
(10)
MURDER THROUGH THE USE OF
A FIREARM DURING AND IN
RELATION TO A DRUG

TRAFFICKING CRIME
(10s)

RACKETEERING ACTIVITY,
MURDER/KIDNAPPING

(17)

TAMPER W/WITNESS, VICTIM,
INFORMANT (IF DEATH RESULTS)
(18)

VIOLENT
CRIME/DRUGS/MACHINE GUN
(19)

MURDER IN AID OF

RACKETEERING
(29s)

CONSPIRACY TO MURDER A
WITNESS
(30s)

USE OF A FIREARM DURING AND
IN RELATION TO A CRIME OF
VIOLENCE
(31s)

Highest Offense Level (Opening)

Felony
Terminated Counts wo Disposition
None

>
file:///C:/Users/jeffrey/AppData/Local/Temp/Low/3HFDHGSA htm (>

Page 2 of 11

5/30/2015

Page: 7

Filed: 04/17/2023

Document: 6

Case: 23-3219

Christopher A. Harris

represented by Christopher A. Harris

Assigned to: Judge Algenon L. Marbley
Referred to: Magistrate Judge Michael R.
Merz

Appeals court case numbers: 17-3299 Sixth
Circuit Court of Appeals, 23-3219 Sixth
Circuit

Defendant (1)

Robert B. Ledbetter
TERMINATED: 03/24/2017
also known as

Brandon

TERMINATED, 03/24/2017
also known as

Killer B

TERMINATED, 03/24/2017
also known as

"RQ"

TERMINATED; 03/24/2017

599-201

TRUMBULL CORRECTIONAL
INSTITUTION

P.O. Box 901

Leavittsburg, OH 44430

PRO SE

represented by Jeffrey Allen Berndt

Jeffrey A. Berndt, Attorney at Law
536 South High Street

Ste First Floor

Columbus, OH 43215
614-371-9300

Fax: 614-228-0253

Email: jberndt84@yahoo.com
TERMINATED: 11/03/2020
LEAD ATTORNEY

Designation: CJA Appointment

Richard Allen Cline

Office of the Ohio Public Defender
Suite 1400

250 East Broad Street

Suite 1400

Columbus, OH 43215
614-466-5394

Fax: 614-644-1573

Email: richard.cline@opd.ohio.gov
TERMINATED; 09/04/2015
LEAD ATTORNEY

Designation: CJA Appointment

Timothy Joseph McKenna
125 East Court

Suite 950

Cincinnati, OH 45202
513-381-7111

Fax: 513-579-1710

Email: mckennalaw@fuse.net
TERMINATED: 11/03/2020
LEAD ATTORNEY
Designation: Retained

Page: 8

Filed: 04/17/2023

Document: 6

Case: 23-3219

Pending Counts

RACKETEERING CONSPIRACY
(1s)

MURDER IN AID OF RACKETEERING
(4s)

MURDER IN AID OF RACKETEERING
(9s)

MURDER THROUGH THE USE OF A
FIREARM DURING AND IN RELATION
TO A DRUG TRAFFICKING CRIME
(10s)

MURDER IN AID OF RACKETEERING
(29s)

CONSPIRACY TO MURDER A
WITNESS
(30s)

USE OF A FIREARM DURING AND IN
RELATION TO A CRIME OF VIOLENCE
(31s)

Highest Offense Level (Opening)
Felony

Terminated Counts

RACKETEERING
(1)

RACKETEERING ACTIVITY,
MURDER/KIDNAPPING

(4)

RACKETEERING ACTIVITY,

VD

Aaron G Durden

10 West Monument Ave
Dayton, OH 45402
937-938-1182

Email: agdlawyer@aol.com
TERMINATED: 11/03/2020
Designation: CJA Appointment

Michael S Probst

Probst Law Office, Inc.

1207 Grandview Avenue, Suite 201
Columbus, OH 43212

614-232-8890

Fax: 614-232-8893

Email: michael@probstlawoffice.com
TERMINATED: 09/11/2015
Designation: CJA Appointment

Disposition
Life

Life

Life

Life

One Hundred Twenty (120) months

Disposition

Dism

Dism

Dism

e:9

Pag

Filed: 04/17/2023

Document: 6

Case: 23-3219

MURDER/KIDNAPPING

(9)

VIOLENT CRIME/DRUGS/MACHINE
GUN WHERE DEATH OCCURS

(10)

RACKETEERING ACTIVITY,
MURDER/KIDNAPPING

(7)

TAMPER W/WITNESS, VICTIM,
INFORMANT (IF DEATH RESULTS)

(18)
VIOLENT CRIME/DRUGS/MACHINE
GUN

(19)

Highest Offense Level (Terminated)
Felony

Complaints
None

Material Witness

Billy Jenkins
TERMINATED; 01/27/2017

Dism

Dism

Dism

Dism

Disposition

Plaintiff

USA represented by James L. Lowe

Franklin County Prosecutor's Office
Criminal Division

373 South High Street

14th Floor

Columbus, OH 43215
614-462-3500

Fax: 614-462-6341

Email: Jlowe@franklincountyohio.gov
LEAD ATTORNEY

ATTORNEY TO BE NOTICED
Designation: Retained

Kevin W Kelley

United States Attorney

303 Marconi Boulevard

Suite 200

Columbus, OH 43215
614-469-5715

Email: kevin, kelley@usdoj.gov
LEAD ATTORNEY

Page: 10

ATTORNEY TO BE NOTICED
Designation: Retained

Brian Martinez

U.S. Attorney's Office

303 Marconi Boulevard

Suite 200

Columbus, OH 43215
614-469-5715

Fax: 614-469-5653

Email: Brian.Martinez2@usdoj.gov
ATTORNEY TO BE NOTICED
Designation: Retained

Kimberly Robinson

U.S. Attorney's Office for the Southern
District of Ohi

303 Marconi Boulevard, Suite 200
Columbus, OH 43215

Email: kim.robinson@usdoj.gov
ATTORNEY TO BE NOTICED

Date Filed Docket Text

Filed: 04/17/2023

#
03/14/2023 1863 | USCA Case Number as to Robert B. Ledbetter 23-3219 for 1861 Notice of Appeal -
Final Judgment; case manager Ryan E. Orme, 513-564-7079. (er) (Entered: 03/15/2023)

03/06/2023 1861 | NOTICE OF APPEAL re 1840 Order, (FILING FEE DUE) by Robert B. Ledbetter.
(Attachments: # | Envelope) (dms) (Entered: 03/08/2023)

Document: 6

02/08/2023 1855 | DECISION AND ORDER - Defendant Ledbetter's two Motions for Extension of Time
(ECF Nos. 1852 & 1853) are DENIED. Signed by Magistrate Judge Michael R. Merz
on 2/8/2023. (kpf)(This document has been sent by regular mail to the party(ies) listed
in the NEF that did not receive electronic notification.) (Entered: 02/08/2023)

02/06/2023 1853 | PRO SE SECOND MOTION for Extension of 90-120 Days on all proceedings. by
Robert B, Ledbetter. (Attachments: # 1 Envelope) (dms) (Entered: 02/07/2023)

Case: 23-3219

02/06/2023 1852 | PRO SE MOTION for Extension on all proceedings for 90-120 days by Robert B.
Ledbetter, (Attachments: # | Envelope) (dms) (Entered: 02/07/2023)

01/09/2023 1840 | ORDER as to Robert B. Ledbetter. This Court RE-ENTERS its findings and conclusions
from its Order of November 14, 2022 (ECF No, 1826) and the Motions to Vacate (ECF
No. 1681 in Case 2:14-cr-127 and ECF No. 98 in Case No. 2:15-cr-080) are
DISMISSED WITH PREJUDICE, except that the conviction and sentence for Count 31
are VACATED. All other terms and conditions outlined in the March 24, 2017 Judgment
and Commitment Order (ECF No. 1478) shall remain in full effect and force. Signed by
Chief Judge Algenon L. Marbley on 1/9/2023. (dms)(This document has been sent by
regular mail to the party(ies) listed in the NEF that did not receive electronic
notification.) (Entered: 01/09/2023)

DECISION AND ORDER STRIKING UNTIMELY OBJECTIONS re 1827 as to
Robert B. Ledbetter Signed by Magistrate Judge Michael R. Merz on 11/18/22. (pb)
(This document has been sent by regular mail to the party(ies) listed in the NEF that did
not receive electronic notification.) (Entered: 11/18/2022)

po
Loa
=

11/18/2022

a

Page: 11

Filed: 04/17/2023

Document: 6

ORDER as to Robert B, Ledbetter re 1796 REPORT AND RECOMMENDATIONS and
1816 SECOND SUPPLEMENTAL REPORT AND RECOMMENDATIONS ON
SUBJECT MATTER JURISDICTION; SUPPLEMENTAL REPORT AND
RECOMMENDATIONS ON THE MERITS. The Court's Order 1826 adopting the
Magistrate Judge's Reports and Recommendations is hereby VACATED to permit full
consideration by the Magistrate Judge. Signed by Chief Judge Algenon L, Marbley on
11/15/2022, (dms)(This document has been sent by regular mail to the party(ies) listed
in the NEF that did not receive electronic notification.) (Entered: 11/15/2022)

11/15/2022

—
oO
ih
WO

OBJECTION TO REPORT AND RECOMMENDATIONS 1816 by Robert B.
Ledbetter. (Attachments: # | Exhibit A, #2 McMicking v, Schields, # 3 United States v.
Agurs, # 4 Windsor v. McVeigh, # 5 In re Hans Nielsen, # 6 Rasul v. Bush, #7 United
States v. Harrod, # 8 United States v. Gatewood, #9 United States v. Cotton, # 10 Sunal
v. Large, #11 Zadvydas v. Davis, # 12 Johnson v. Zerbst, # 13 Hallowell v. Commons, #
14 Steel Co. v. Citizens, # 15 Envelope) (dms) (Entered; 11/14/2022)

oo
—~l

11/14/2022

11/14/2022 ORDER dismissing 1681 Motion to Vacate and 1772 Amended Motion to Vacate (2255)
as to Robert B, Ledbetter (1); adopting 1778 Report and Recommendations and 1795 ,
1796 , and 1816 Supplemental Report and Recommendations as to Robert B, Ledbetter
(1). Signed by Chief Judge Algenon L. Marbley on 11/14/2022. (dms)(This document
has been sent by regular mail to the party(ies) listed in the NEF that did not receive

electronic notification.) (Entered: 11/14/2022)

rm
io

AMENDMENT TO REPORT AND RECOMMENDATIONS ON THE MERITS as to
Robert D, Ledbetter - The presently pending Report and Recommendation (ECF No.
1796) and Supplemental Report and Recommendations on the merits (ECF No, 1816)
are AMENDED to recommend that Ledbetters conviction and sentence on Count 31 be
VACATED as precluded by Davis, supra, and that, to the extent necessary, and amended
judgment be filed. Signed by Magistrate Judge Michael R. Merz on 10/24/2022. (kpf)
(This document has been sent by regular mail to the party(ies) listed in the NEF that did
not receive electronic notification.) (Entered: 10/25/2022)

10/25/2022

OO
th

10/24/2022 1821 | Response re 1816 REPORT AND RECOMMENDATIONS as to Robert B. Ledbetter re
1795 REPORT AND RECOMMENDATIONS as to Robert B. Ledbetter re 1772
MOTION, 1778 REPORT AND RECOMMENDATIONS as to Robert B. Ledbetter re
1772 MOTION, 1796 REPORT AND RECOMMENDATI as to Robert B. Ledbetter
(Robinson, Kimberly) (Entered: 10/24/2022)

Case: 23-3219

10/11/2022 1816 | SECOND SUPPLEMENTAL REPORT AND RECOMMENDATIONS ON SUBJECT
MATTER JURISDICTION; SUPPLEMENTAL REPORT AND
RECOMMENDATIONS ON THE MERITS - Ledbetter's instant Objections are without
merit and should be overruled. Because reasonable jurists would not disagree with this
conclusion, it is also recommended that Defendant be denied a certificate of
appealability and that the Court certify to the Sixth Circuit that any appeal would be
objectively frivolous and should not be permitted to proceed in forma pauperis.
Objections to R&R due by 10/25/2022 Signed by Magistrate Judge Michael R. Merz on
10/11/2022, (kpf)(This document has been sent by regular mail to the party(ies) listed in
the NEF that did not receive electronic notification.) (Entered: 10/11/2022)

Recommittal Order as to Robert B, Ledbetter re 1796 REPORT AND
RECOMMENDATIONS and 1804 Objection to Report and Recommendations filed by
Robert B, Ledbetter, Signed by Chief Judge Algenon L. Marbley on 9/23/2022. (dms)
(This document has been sent by regular mail to the party(ies) listed in the NEF that did
not receive electronic notification.) (Entered: 09/23/2022)

oo
=>
NO

09/23/2022 ]

|

OBJECTION TO REPORT AND RECOMMENDATIONS 1795 , 1796 by Robert B.
Ledbetter, (Attachments: # 1 Exhibit, # 2 Envelope) (dms) (Entered: 09/08/2022)

(12>

08/30/2022 180.

ps

Page: 12

Filed: 04/17/2023

Document: 6

Case: 23-3219

08/09/2022

REPORT AND RECOMMENDATIONS as to Robert B, Ledbetter - The Magistrate
Judge respectfully recommends Ledbetter's § 2255 Motion to Vacate be dismissed with
prejudice. Because reasonable jurists would not disagree with this conclusion, it is also
recommended that Defendant be denied a certificate of appealability and that the Court
certify to the Sixth Circuit that any appeal would be objectively frivolous and should not
be permitted to proceed in forma pauperis, Objections to R&R due by 8/23/2022 Signed
by Magistrate Judge Michael R. Merz on 8/8/2022. (kpf)(This document has been sent
by regular mail to the party(ies) listed in the NEF that did not receive electronic
notification.) (Entered: 08/09/2022)

08/05/2022

B

SUPPLEMENTAL REPORT AND RECOMMENDATIONS - Having reviewed the
Defendant's Motion (ECF No. 1772) in light of his Objections, the Magistrate Judge
again recommends it be denied, Objections to R&R due by 8/19/2022 Signed by
Magistrate Judge Michael R. Merz on 8/3/2022. (kpf)(This document has been sent by
regular mail to the party(ies) listed in the NEF that did not receive electronic
notification.) (Entered: 08/05/2022)

06/21/2022

ORDER as to Robert B, Ledbetter re 1781 Objection to Report and Recommendations
filed by Robert B. Ledbetter. Signed by Chief Judge Algenon L. Marbley on 6/21/2022.
(dms)(This document has been sent by regular mail to Defendant Robert D, Ledbetter.)
(Entered: 06/21/2022)

06/13/2022

Ledbetter, (Attachments: # | Envelope) (dms) (Entered: 06/16/2022)

05/19/2022

REPORT AND RECOMMENDATIONS as to Robert B. Ledbetter - It is respectfully
recommended that Defendant's "Motion for Order Vacating All Action/Orders Issued in
Movant's [§] 2255 Petition for Lack of Subject Matter Jurisdiction Pursuant to 28
U.S.C. [§] 2242, 1746, and Habeas Rule 2(c) of Rules Governing 28 U.S.C. 2255(b)(5)"
filed as part of ECF No. 1772 be denied, Objections to R&R due by 6/2/2022 Signed by
Magistrate Judge Michael R. Merz on 5/19/2022. (kpf)(This document has been sent by
regular mail to the party(ies) listed in the NEF that did not receive electronic
notification.) (Entered: 05/19/2022)

05/16/2022

Response re 1772 Response (non motion) as to Robert B. Ledbetter (Martinez, Brian)
(Entered: 05/16/2022)

05/02/2022

OBJECTION TO REPORT AND RECOMMENDATIONS 1770 by Robert B. Ledbetter
as to Robert B. Ledbetter. (Attachments: # 1 Env.) (jlk) (Entered: 05/03/2022)

04/21/2022

1774

DECISION AND ORDER as to Robert B. Ledbetter (1) - The Report and
Recommendations recommending dismissal of the § 2255 proceeding for refusal to sign
(ECF No. 1770) is WITHDRAWN. The Government's memorandum in opposition, if
any, shall be served and filed not later than May 9, 2022, per S. D. Ohio Civ. R. 7.2.
Signed by Magistrate Judge Michael R. Merz on 4/21/2022. (kpf)(This document has
been sent by regular mail to the party(ies) listed in the NEF that did not receive
electronic notification.) (Entered: 04/21/2022)

| 04/18/2022

Response re 1764 Order to Sign the Motion to Vacate, 1770 Report and
Recommendation as to Robert B, Ledbetter. (Attachments: # 1 Envelope) (dms)
Modified on 5/19/2022 to create link(kpf). (Entered: 04/20/2022)

04/12/2022

REPORT AND RECOMMENDATIONS as to Robert B, Ledbetter - Defendant failed at
the outset to sign the Motion as required by Rule 2(c). He has now refused to comply
with a direct court order to correct that deficiency. It is accordingly respectfully
recommended that the § 2255 Motion be denied for failure to sign. Objections to R&R
due by 4/26/2022. Signed by Magistrate Judge Michael R. Merz on 4/12/2022. (Ipf)

Cu)

Page: 13

Filed: 04/17/2023

Document: 6

Case: 23-3219

(This document has been sent by regular mail to the party(ies) listed in the NEF that did
not receive electronic notification.) (Entered: 04/12/2022)

03/14/2022

DECISION AND ORDER ON MOTIONS TO AMEND as to Robert B, Ledbetter -
Ledbetter's Motions to Amend (ECF Nos, 1709, 1733, and 1744) are DENIED. Signed
by Magistrate Judge Michael R. Merz on 3/14/2022. (kpf)(This document has been sent
by regular mail to the party(ies) listed in the NEF that did not receive electronic
notification.) (Entered: 03/14/2022)

03/14/2022

ORDER TO THE CLERK REGARDING DOCKETING as to Robert B, Ledbetter - To
prevent further confusion, the Clerk is hereby directed to file and docket any filing from
Defendant Ledbetter in Case No. 2:14-cr-127. Signed by Magistrate Judge Michael R.
Merz on 3/14/2022. (kpf)(This document has been sent by regular mail to the party(ies)
listed in the NEF that did not receive electronic notification.) (Entered: 03/14/2022)

03/14/2022

1764

ORDER TO SIGN THE MOTION TO VACATE as to Robert B, Ledbetter - It is hereby
ORDERED that Ledbetter sign and file the following declaration not later than April 1,
2022: "I, Robert D, Ledbetter, Defendant in the above-captioned case, do hereby declare
under penalty of perjury that the statements made in my Motion to Vacate under 28
U.S.C. § 2255 (ECF No. 1681) are true and correct." Signed by Magistrate Judge
Michael R. Merz on 3/14/2022, (kpf)(This document has been sent by regular mail to
the party(ies) listed in the NEF that did not receive electronic notification.) (Entered:
03/14/2022)

03/09/2022

02/17/2022

REPLY TO RESPONSE to Motion by Robert B. Ledbetter as to 1733 MOTION to
Dismiss, 1744 MOTION to supplement/amend 2255 (Attachments: # 1 Envelope) (dms)
(Entered: 03/11/2022)

Notation ORDER granting 1757 Motion for Extension of Time to and including
February 10, 2022to File Response/Reply as to Robert B. Ledbetter (1)nunc pro tune
January 27, 2022. Signed by Magistrate Judge Michael R. Merz on 2/17/2022, (MRM)
(Entered: 02/17/2022)

()2/10/2022

RESPONSE to Motion by USA as to Robert B. Ledbetter re 1744 MOTION to
supplement/amend 2255 (Robinson, Kimberly) (Entered: 02/10/2022)

02/07/2022

Notice from Supreme Court of the United States. The petition for a writ of certiorari was
denied on 11/12/2019, (er) (Entered: 02/08/2022)

01/27/2022

MOTION for Extension of Time to File Response/Reply New date requested 2/10/2022.
by USA as to Robert B. Ledbetter. (Robinson, Kimberly) (Entered: 01/27/2022)

01/24/2022

Amendment/Supplemental to previous 2255 motion re 1744 MOTION to
supplement/amend 2255 by Robert B. Ledbetter (bc) (Entered: 01/24/2022)

01/13/2022

DECISION AND ORDER regarding Ledbetter's Motion to Take Judicial Notice 1753 ,
Signed by Magistrate Judge Michael R. Merz on 1/13/2022. (kpf)(This document has
been sent by regular mail to the party(ies) listed in the NEF that did not receive
electronic notification.) (Entered: 01/13/2022) .

12/22/2021

MOTION Requesting the Court to take Judicial Notice of the Following Adjudicative
Facts Pursuant to Fed, R. Evidence Rule 201(c)(2) by Robert B. Ledbetter.
(Attachments: # 1 Envelope) (er) (Entered: 12/27/2021)

10/19/2021

MOTION to supplement/amend 2255 by Robert B. Ledbetter as to Robert B, Ledbetter,
(Attachments: # 1 exh A, #2 exh B, #3 exh C) (bc) (Entered: 10/19/2021)

09/02/2021

AMENDMENT/Supplemental re 1733 MOTION to Dismiss by Robert B. Ledbetter

(bc) (Entered: 09/02/2021) ak,
( \ al

Page: 14

Filed: 04/17/2023

Document: 6

Case: 23-3219

08/30/2021

RESPONSE to Motion by USA as to Robert B. Ledbetter re 1733 MOTION to Dismiss
(Robinson, Kimberly) (Entered: 08/30/2021)

07/30/2021

NOTATION ORDER granting 1736 Motion for Extension of Time to File Response to
Motion to Dismiss. Response due by 8/30/2021. Signed by Magistrate Judge Elizabeth
Preston Deavers on 7/30/2021. (EPD) (Entered: 07/30/2021)

07/29/2021

First MOTION for Extension of Time to File Response/Reply as to 1733 MOTION to
Dismiss New date requested 8/30/2021. by USA as to Robert B. Ledbetter, (Martinez,
Brian) (Entered: 07/29/2021)

07/08/2021

MOTION to Dismiss a void judgement for lack of subject matter jurisdiction by Robert
B. Ledbetter, (bc) (Entered: 07/08/2021)

06/23/2021

Letter/Declaration/Petitioner's Preliminary Statement/Petitioner's motion to vacate
pursuant to 2255 and memo of law in support from Robert Ledbetter (bc) (Entered:
06/23/2021)

06/01/2021

ORDER denying 1715 Motion for Extension of Time to File as to Robert B. Ledbetter
(1). Signed by Chief Judge Algenon L. Marbley on June 1, 2021. (bc)(This document
has been sent by regular mail to the party(ies) listed in the NEF that did not receive
electronic notification.) (Entered: 06/01/2021)

05/13/2021

Petitioner's response to the U.S. response to petitioner's pro se motion pursuant to 28

04/14/2021

ORDER CONSOLIDATING case #'s CR2-14-127 & CR2-15-80 as to Robert B.
Ledbetter Signed by Chief Judge Algenon L. Marbley on April 14, 2021. (bc)(This
document has been sent by regular mail to the party(ies) listed in the NEF that did not
receive electronic notification.) (Entered: 04/14/2021)

04/12/2021

MOTION for Extension of Time to File New date requested 6/14/2021, by Robert B.
Ledbetter as to Robert B. Ledbetter. (bc) (bc), (Entered: 04/14/2021)

03/15/2021

MOTION to Vacate pursuant 28 U.S.C, 2255 supplement and amendment by Robert B.
Ledbetter, (be) (Additional attachment(s) added on 3/15/2021: # 1 Sealed reply) (bc).
(Entered: 03/15/2021)

03/12/2021

NOTICE OF ATTORNEY APPEARANCE Kimberly Robinson appearing for USA.
(Robinson, Kimberly) (Entered: 03/12/2021)

03/12/2021

RESPONSE to Motion by USA as to Robert B. Ledbetter re 1681 MOTION to Vacate
under 28 U.S.C. 2255 (Robinson, Kimberly) (Entered: 03/12/2021)

03/10/2021

NOTATION ORDER granting 1702 Motion for Extension of Time to File Response to §
2255 as to Robert B, Ledbetter (1). Response due by 3/13/2021, Signed by Magistrate
Judge Elizabeth Preston Deavers on 3/10/2021. (EPD) (Entered: 03/10/2021)

02/11/2021

MOTION for Extension of Time to File Response/Reply New date requested 3/13/2021,
by USA as to Robert B. Ledbetter. (Kelley, Kevin) (Entered: 02/11/2021)

01/13/2021

NOTICE (Other) by Robert B. Ledbetter as to Robert B. Ledbetter (bc) (Entered:
01/13/2021)

12/21/2020

ORDER as to Robert B. Ledbetter (1); Petitioner is to show cause w/in twenty-one (21)
days why this action should not be dismissed for failure to prosecute by his refusal to
submit a wavier of his attorney-client privilege. Show Cause Response due by
1/11/2021. Signed by Magistrate Judge Elizabeth Preston Deavers on 12/21/2020. (kk2)
(This document has been sent by regular mail to the party(ies) listed in the NEF that did
not receive electronic aA 12/21/2020)

2

CM

12/17/2020

NOTICE of Waiver of Attorney Client Privilege by Robert B. Ledbetter. (Attachments:
# 1 Envelope) (er) (Entered: 12/27/2020)

11/24/2020.

ORDER granting 1688 Motion requesting Petitioner to file a waiver of his attorney-
client privilege as it relates to his claims of the denial of the effective assistance of
counsel within 21 days. Respondent shall file an answer in response to the Motion to
Vacate within 45 days of Petitioners submission of a written waiver of his attorney-
client privilege. Petitioner may have 14 days thereafter to file a response. Robert B.
Ledbetter (1) Signed by Magistrate Judge Elizabeth Preston Deavers on November 24,
2020, (jlk)(This document has been sent by regular mail to the party(ies) listed in the
NEF that did not receive electronic notification.) (Entered: 11/24/2020)

11/23/2020

MOTION for Dft Ledbetter to file a sworn waiver of attorney client privilege. MOTION

to hold Response to 2255 1681 deadline in abeyance . Filed by USA as to Robert B.
Ledbetter. (Kelley, Kevin) (Entered: 11/23/2020)

Page: 15

11/04/2020

ORDER - The United States of America is ORDERED to respond to the Motion to
Vacate in accordance with the provisions of the Rules Governing Section 2255 Cases in
the United States District Courts within twenty-one (21) days. Petitioner may have
fourteen (14) days thereafter to file a Reply, as to Robert B. Ledbetter. Signed by
Magistrate Judge Elizabeth Preston Deavers on November 4, 2020. (jlk) (This document
has been sent by regular mail to the party(ies) listed in the NEF that did not receive
electronic notification.) (Entered: 11/04/2020)

11/03/2020

Judge update in case as to Robert B, Ledbetter. Magistrate Judge Elizabeth Preston
Deavers added. (jlk) (Entered: 11/03/2020)

Filed: 04/17/2023

11/02/2020

MOTION to Vacate under 28 U.S.C. 2255 by Robert B. Ledbetter as to Robert B,
Ledbetter, (Attachments; # 1 Env.) (jlk)
Civil case 2:20-cv-05733-ALM opened. (Entered: 11/03/2020)

Document: 6

10/04/2019

Notice from Supreme Court of the United States. The petition for a writ of certiorari was
filed on 9/26/19 and placed on the docket on 10/1/19 as case number 19-6107 as to
Robert B. Ledbetter. (sct) (Entered: 10/07/2019)

Case: 23-3219

07/08/2019

OPINION AND JUDGMENT of USCA (certified copy) as to Robert B, Ledbetter,
Christopher A. Harris, Rashad A. Liston, Deounte Ussury, Clifford L. Robinson re 1488
Notice of Appeal - Final Judgment, 1487 Notice of Appeal - Final Judgment, 1476
Notice of Appeal - Final Judgment, 1484 Notice of Appeal - Final Judgment, 1486
Notice of Appeal - Final Judgment, 1489 Notice of Appeal - Final Judgment, 1477
Notice of Appeal - Final Judgment, 1485 Notice of Appeal - Final Judgment: The Sixth
Circuit ORDERS that the judgment of the District Court is AFFIRMED IN PART,
VACATED IN PART and REMANDED for further proceedings consistent with this
opinion. Note: Mandate to issue. (er) (Entered: 07/08/2019)

10/30/2018

fs

NOTICE of filing of exhibits for appeal purposes by USA as to Robert B, Ledbetter,
Lance A, Green, Allen L. Wright, Tysin L. Gordon, Christopher A, Harris, Robert L.
Wilson, II], Rashad A. Liston, Deounte Ussury, Thomas E. Coates, Ishmael Bowers,
Joseph Hill, Freddie K. Johnson, DeShawn Smith, Lance Reynolds, Rastaman A.
Wilson, Clifford L. Robinson, Troy A. Patterson, Andre M. Brown, Johnathan Holt,
Christopher V, Wharton (Kelley, Kevin) (Entered: 10/30/2018)

10/25/2018

ORDER of USCA (certified copy) as to Robert B, Ledbetter, Christopher A, Harris,
Rashad A. Liston, Deounte Ussury, Clifford L. Robinson re 1488 Notice of Appeal -
Final Judgment, 1487 Notice of Appeal - Final Judgment, 1476 Notice of Appeal - Final
Judgment, 1489 Notice of Appeal - Final Judgment, 1477 Notice of Appeal - Final
Judgment: The Appellees motion to file an oversized brief and the appellees motion

Gy)

Page: 16

Filed: 04/17/2023

Document: 6

/ Case: 23-3219

rr. Stotement be the Facts

1.) Lack oF dubjec Mater Jurisdiction in a
VoIp Sudgment- per Davis cecieton Z pekechye
Maichment .

2.) Gechkn |S1Q  shovld be Vacated m Mgnt of Féusler
Clecision .

3,\ $955 Col Pehseed do dele ne merits ait
Aaims Z cehgol to dedare pristrial 2 Geil Verdtet.|

—_—

Page: 17

Filed: 04/17/2023

Document: 6

Case: 23-3219

The Leac\ Drendard +Anay Caontrels ne Issuance
of a Cert ete er Nepea\ &loi lity

—,

Ti

— En we crecent avereme Govrt case Bock y- Davis, the
Svpceme Court held shat the Fi¥lh Gye} exceeded the livvted
Scope vf the 6.04. analysis The G.0.4 stohrte sete forth a

two atep proces’ O10 inittol determinahor whether a Claim is
reasonably Aevatable and then iF ik 1S On Ayppeen| In the norre| Case -

CWi2e Sushce Qoberle wri hing for the Covet, held Hak the CerbGeate of

Mgpesla lity “Tnguily , we hav? Qm phagized , is no} comdensve voit «
mento analysib According hy the Cie duster, : Phe deste Por Hoe LiF Yr
CYuut was aot whetiw Polke Wad shawn Lyra ord nay cireumefarrces exe
aN ultimahe merits deferminahons the panel Should not have reached -
We reiterak’ what whe have gaid petore ' |b Gourt o¥ Appeal Shuts —_ |
[iot i45 Qraminahon ab the CO) stage fy a@ Thresheld inquiry hfe the
Linderlyng mend of (Hid) clans, and) ask onary se Are Disfrie? Covert’
Oleusion sae clebatable -

Da Henry vi Cockrel, 287 F.3d Yat, YH (stor. 9003/ Fhe comet
xpla/ned thak! under the Auf derrorism angi Efbece Death Penalty
het (MEDPA) a pebthoncr mest oblwh a Corbhrafe of Agpeole billy
(COA) before tre can appeal the Asfrct cow desckpor , See AP USC.
B AAD Cover) A LOA pill be rated i ly xz Faye pehtouer Makes @
"pebstential showing a The Htaiel of @ canshfapimal ny, bee te
USC? 453 (c)(a): |
ttn order fo mete 2 srbsfenhrh) chong ¢ pelhoner _yrust ements
at 4 : péasénapk jurist Would Fehel Fit distric? corevlt Assess mont
oF the conshtufjenal claim debefelle ey useng " Black y. |YVenie/
234 45: 493,484 205-4. 1595 Jyh Bd, Stat (Aloo) . When a
Ostet cowl hes denied a 014i en procedural oo flien tte

pehhoner mush demenshrate that a “reasonable prow err) ford) of
die)
Page: 18

Filed: 04/17/2023

Document: 6

Case: 23-3219

| Debpabable whether the Aishtet court Wes correee jh js procedyal

IF tal As the Ayre Colect male oftar Ps Weersjen sh Fire
" Junedichinal prereguisite i and * unt! a LO4. has boean Issued i
the Federal (nut? 6 Appeal [ack paniseltehion fs yule on She
ment? of appeal Fro Valens peptimecs * Whe tonspderhy 4
repues} fer 9 6.0.4." The gishim is The debutaoility we Foe
underlay Cosh tehenal ches Aot Fy W¥solupirn pre Aya t Hekeve ,

Sd at 14a:

Wie tye foregonng ree Stanclard presented for flu Conwy

Consilerahin as Tue (standard for ksuance W# 4 C.0.4.
Me. Ledbeher bhows uss cork hk Ciwpfubomal claims ana

how they are cltbef able among juts OF Pawn
Page: 19

Filed: 04/17/2023

Document: 6

Case: 23-3219

eae | Lack OF Goloject Mather Sunsarebion in 4
VOI 3 lament

Pelhoner moves to Dismiss she Mdtdmen} as Aeective
cand Voip . dased on Te Dauls decisiaa which establishes @ Doe Prceis
viplebon That Sin pped Ane Gov} 6¥ Sevject mater rtsdieten eine
resrtecdh Ny a VOW jedgment Fen violation of Petihoners Boe Press
Maly , per ved Cyr und yery ond tial Teshmony oy aovernment
WwykyeseeS (1) Anns Jones (9) Troy Patheyson (4) Turqv0r'se Paterson (+)
Acbib Broomfield and (5) Gxinantha M uiply ail of Whom were foond te
provide Fal be testimony yn Ye gree ury These Wumbhed cans hihtonal
yir\atons pvited The Covyt oF Sbieek moter prsdiehon ond
cendecyd he ene Proceeding s Null and Youd .

Atay

enn ver does nok den mijal ywiisdtchon Wot veduer Phe Court
lox jpnsdi chisn dering Vhe pr vaness oF he proceedings when
pehhpner’s Coneh tihinally prorected Ngee WeLe. nFringed Upon lay
perured testimony ond Yntons behonal shatele frnd ne court so
Mranscended ir Prides rendering +6 VAgmant VOID end ce privy

the (LUND 6 ANI hegl Ving. Dee: N*Micking Add U.S. Gt |DY-/O5 :
The jvdtalal imbeai ty ‘Theory Ig that, Federal Coys cannot le atcompl hres

in The wally diwbediene o¢ the Congh}uton They Are 6sorn Jo upheld .

The actos ly Hue U.S. Mromeys , and the trial Court, shows on the

fren of Ye record vobh Procedural Gnd Adsbostenhve Dye Process
Violabong . (nese viclahow posted the tna) court of rks WWitial
(prisdichor, To render pdgnent , ond sentence _peritrner , the Courts
pisdtchon viljekes ye verdtur ed sentence on All comds
GF conviction , Nok jos Comb 3) :
Page: 20

Filed: 04/17/2023

Document: 6

Case: 23-3219

becouse Whe A&priyalion OF he consh puhenal ciqnt OF Pee, Process

OF jaw 40 4 Wial locfore Condemnahon. Evtner oss Le court of
\Visatchion YO enker o pagent OF Conviehen o¢ ke deprives the
ecord OF a) legl vichue. pud & WA4inent DE comicHar @iterec
Ameren ig 4 Nutuity. navies potrins YO Siappov't it. re
“‘piiediarion {b elasent in tne Pistqe+ Covrt, i+6 decisian is Voib.
Mn (+5 ixndeniabe 1 tue Dtsiice Court Jost jUriselteHen tee.
Appellate Court (6 also usjfnou} \jousdichon. S22 Sma\toood yy,
Galiard  a4S USesle, Gd (1%37) Lin ME words oF Svshce Holmes
" T+ dbes nok meter +Ahed these cases Wave spire te a lWigher

Court. When +ne v0} 6 cw She \iranches Cay", | see |

Woiovwed| y, Dama 24 Ud Sole 508 (11), Bedeman vy. Fevel
Motor Co Ne bvpp [1b 1d3 [er (248) same:
k defendant ywatrhaing oc right to Dee Press 0¢ Law jn all

Cri mi nex) Proceedings nhl The entry of final pagent Aucl he

low presyies innocence Urn) & Veli jedqment of Conviehsn
tb entered: Because o€ Jne Conshtubonal wand pee Process

\Rolahons ab jose i Ahts case. There wes no Valid Jodement Xf
Convipion entered:

Whee Aner tb a dental vir nuasion of a Constrtetymal + Teh , The

determining ingyres ore (i) Nod tne Distiet Svdge ove yurtsdteHon

Ge Ane Peson ond Apbyeet Peter, And (2) web the denterace in poseel
WAT 1K Dp vuueee The onsww yo boy of ese quests

Mw Awe case, ib @ rescind ing “ io" wa The Disinzt Court \ve+

junsdichon when Petites Poe Proves gris Loewe Violadeel
tnd Never restored |

(i)
Page: 21

Filed: 04/17/2023

Document: 6

Case: 23-3219

And the Court transcended and @xceaded jhé Powers and the Jars
s€ its Or epnizahien . When & Conshtubonal La mun by oF pehhoner was
Miclabed ly the mdtupment trial, 4d sentewe imposed by Ine, Court.
bee: Bend v. United babes aul F15a,)57 (24ay jogo),

This Viplated Petitioners Fundamental pHvbvstenhve Constitihonally
Project Prgnrs onder te St? GM and WT. Amendments of
The UG: Lonthtubon, Wher petitioner Woes coavicted and sentenced

pad bn perpred testimony offered ly gov}. witnesses before
Ahe Grand Tm and ab Trial. Dn Welahin of petitmeness yt ynts
ko Tse Process: “Ves moryy Lenten Snceld Wave peer Kno n
See \oe Ca\ ce \o4 tme Government. The piste Comts JUrsd verre
wos never esrebitshed: And tis leas OF \sdtetVen cerndered
Ave, Cours VPasmen} = Sentence On comrs V4) 9,16 2%, BO, 3 | ane!
DANer ch. \ta i Neal avd VOID . bees. DSelapens Prep Mamtlac
V. peas Qu5 F.Aad SOY”, S)S-lv (¢t ei. A00)):
i Hoiding “hk Vow Judgment ts one which fron +8 InLephon was
a Lompicte Mullity , and with hegaa) effec, 1 Baied On fue
fecord oF multiple govt. witnesses perjured Pesti mony. Ap fhe
Gytund juy und trial ih yiblation oF /ue Prowess  Prnd the govt.
6 d1/ci hing Hes mony it knew, ov whovild of Known ts be false
Petifoner requests his Cort vacate his sertence

and conviction gn all counts 1,4, 9,16, 24, 3,3) € T.cts 1c
bE the Indictment. And grant a new tryyal .

( Relieg Od24nh foy Lack oF jobject Matter Queaselith'on |ssve }

a>
Page: 22

Filed: 04/17/2023

Document: 6 ,

Case: 23-3219

Tasue ait Pehhone', conuictton fer Vi olabng #\sta should
ioe Vacatea) in ligt oF Courks decision Mn Fowler v. United
roses AB S-Cr 90S, INI L-Ed acl 109% , Sea VS @v® (avI1)

Mr. hedbetter Contends yar +he Gopreme Court decision
in Fowler y. Onited Shates , 13) S-c+- 904s (apll] , renders
Wie conviehion for Vi blabing \o oe ic. © \sia invea)icd -
SpeciPeally | Ledbetter aveves +Vat Ne lees iidicted for he
moeder oF atleged government corrness +e We coms Chergedl
in Vidlotion OF 8 \Bla- SE Goperceding WA ctment - Count 3d.
However | Leadbetter ar gues nat +e Nese) carttness --netd he
Was Charaed Usitn muvdering or cone piving +o MUmMer Was |
Nok A Aovernment isitness , FUYmhermive , Ledvetter cent<rds
Anat she Viehm had po} commumaated Leith 4 Federe| othe

Nov was \i\led yw Ovder +o rev ent COMMUNI Cerhon to 4

federal law enforcement officer +

Du Pooler, Ane, Sv preme Cour} Cansiderec) Cohether
Uidlahion of 19 Uisic® Isla ayiida reguives thet the
derend ant lIhoye +he jatenk not only +o prevent comme cato
kolo’ enforcement of fice’ in generai , lot to federal
officere in parhwiar . Sea Fowrer , Seb US ot 13) Scr.
OF AW.

(AD
Page: 23

Filed: 04/17/2023

Document: 6

Case: 23-3219

VYourler 66h ond Killed a pole offtcer Lobe
approncned Mim ond Wie codePendants in & Ceimerteecy
UMENe Wey Were Preparing to ow o Wank, Foster wag
lease, Charaed Under ® 1513 (a) C)2Cc) After Fousler Loa
Comwitted , We CnavccessFoily eroperiecd he Sv preme Cove4
yaceted tne Eleventh Civentd decision. The Goort weld that
4 establish a Vidlahon oF & Isla (a) CIdc9, he government
“war slows thet here das a Measonable Wweliloce) —Hrat

Oa pelevant commenicahon wold Wave lean made +s

Q Federal offer, Fowler . (Bl 8.c: ak Bong.

The Saree Cour} ce)jectech the “ possilai ity " glorcdard _ waking
het +o allow the Government? +o show only a mere poss: bilby
AMaAb OO commencafion wovid have been Untn Federal of Acials
i 4 een Hine Government Yo shout litte more -han “he
poomle commission dF a federal offewe .Id ar a5). The Sspreme
Couv+ Zxplained ya} tne Government was net Revived +o Shew
Anat Hoe Communi Cotton) iF (+ Occeved, Was beyond & Wascnable

doviok | oY even More leely than pot. Id at a65ea ,

However, He Guyernment most shoes Haat tre likelhoa) of

Communcehor to a fedeva| of cer Was Wore +han yeimete ,

———

Ovrlandish, ar simply hy pothericer| Sta of Ress.

(EB)
Page: 24

Filed: 04/17/2023

Document: 6

Case: 23-3219

Tn the cope Srl jedice, Mr.Ledbetter Lees charged cory |
WE murder of x We vbnces | Lehsm MFact , Woas no} a wrnes;
iw Oy Federal PYCLELOI NA « A scenacio expres) y contem pievfech
by 4ne Goorks ver nding concern jw Fousver.

Whe Court Ieid That in a cage such as Hris one eshere
Awe defendant docs not hove a parrivslar Federal lacu

enforcemert of Cices iw mind the Government most show

o veosonabie \heli hood thet , lyoel ag. ing Uses, co moun copl|

Ln it \ow enforrement of Picers arleast one Celeyeunt senna
ovld lave been made +5 a federml lar’ enforcement other
Bus Ub ak WD. |
Niv. Ledbberter contends -nere was no evidence produced
thet any murder wap intended +6 prevent “ne cpmmunicahia|
+o a Federa| \owr enforcement officer, nor eas tnere atest |
one Communication wo Federa\ law enforcement officer) Foster
ABis-ch, ak a0sa_ . TWerefore, Mr. Ledbeer claims +hedt b's

cConvichon fer tamt.3p must be vacated 11 Went oF Fowkr.

See Arhpochee! Gommary OF Feet> Of Treansenpts of
evidentiary leaving on Dec], a01S5 @\em before Poncrabie,
Dodge. A-. Mauloley Luith Catone, Ste oken B -Palmer - conce]
for Uichn -

Summary of Facks~pyvenne or Evidenhary Hearing eon
Dec -\ \AAS @\om befere Aonevable Sedlae Meéucibley Lsctin
Stepven E.Pedmer ~ Counsel For vrerm L. oes» Tyranscria+s |

pa 0hV4d' viehm ohates (per couse) being contacted loy shate.

Page: 25

Filed: 04/17/2023

Document: 6

Case: 23-3219

CHvurMorih eo being aceveed of +ompening nth eviclence

pry 4s ViGhm sSteted +o Counsel Aner she was bang thyreat< nec)
oF Anminal Mawnes py Srate Aavnuonhes | As wel, Yne DEA
wos seering 8 20K in relation yo Ni Ledbeaters current
Mauri Jeanna  Onrest -

pyills etoate prosecstor Grega Marx  Uoet conterejerdd

palo SEFEReY Pr. Liwn \ OSS (otant ts Stephen S_Pen\mer Grates that
(office want dirt on Ledbetter ond nepes +he Mreacds
+o ards vwichm Hi\\ oer ner -+te “ Sei\\ ner aut"

etd 1 Dertrey J. Linn state vichin wos tod te lie Je Ledbetter
| f
in Pegards +o \ner door being Kicked iw esubthg iy @& DK seize

pgslt.* Gtephen EB. Palmer states Met a meeting took place tarhh
Broke jovosecutoy Gyeap Mavx ond ao detective from -ne
Pickering Police Dept, ine state Womicide No Federal law
enforcement SFG ters - Where Fstt immunity wes aven on
Advance prior te any gratements aQNing Wick Gil couge
Gnd Meenhve ~w pwr fer.

x19 Vichn toid detechves the did not call dos anytung |

Ps Ss j Lg
Ao ABSISE 1H Disposing evidence Velatiue to a lhonmjierde Vittinr |
Aenied i} Yeletmentyy €yen urth Foil btwn [rnin J

ar)
Page: 26

Filed: 04/17/2023

Document: 6

Case: 23-3219

Al's Sedge eredeS votTUlAs) cele Utdelehon oF leaAing qvuerhons

py: | Lsvngel Certevates Loom (6 erent 4 meeting and
Anat Aeceetnyea AA wor \lpalieve Wer-

py 2 + Vick aan brakes nob willing to peshyy :

ey. 21: Cosel chateo for mahon regewding ue ditposen of clotting —
tampering OF evidence came from apvt. Informe Fort Willame

e485: The Gurt addresse®? vighms coumsel Fov Greting different imMermatron
MW Ream cls +6 . Ledbetters crew from enor Pesh mony -

04.3): Compl conte thet May J0)) geizuve of © 3px Was phe end of
Ane Foae mvollement with yeh With usas Killed later in
oct+over 26)\:

Pye! Shows mulk'p ie contous from urctim te defendant via UWerhation
ok Ane Comby Joi) and even trying “jo ose foke ac. Dis ts enter
FaaNisy pW oFley wreenng with Stexte prostavtovs ) Contadrehing
Ane Theory Gre wWo0s Ki\\ed +O prevent testimony cohtch she
Grated gre wold net de regardless:

p43 1) Shows Ueki ying to aothnontbes he hose i,® Abu a\ decal Pysale ty.
| These Fidenhary heanng treasenpls ghd lack OF communication

Lath Fedegu.\ \aw enforement _ Neohgt Brences © eonhoadchichun ts awh Theory

Q5)
Page: 27

Filed: 04/17/2023

Document: 6

Case: 23-3219

Conclusion fo fowler | S5U
io demonstrated , Wt neffech\yeness oF Ces Se) by lo,
trial and Aappe lete evel was cumulahve and ine Furelely

preva Cia\

(ever dbvubr For Fuser issue ~o+.39/20

Given Ane hme} on preceecinas aot beth tevels . Mr
LedbeTer (6 ented +o a vestsyvechon of Wis ant +o
Ariat clo nito. Hence  \ne gerKo  Aredt ie convicrhion low
Vaated tne Bort order a neo teal and restoyehon
oF oM ap cellate reat |

Qu)
Page: 28

Filed: 04/17/2023

Document: 6

Case: 23-3219

| Government neeses Wi )liame & Sones implied in 4nuy Teshimeny

‘On impressi6n we [mn proper conduc by tren se counsel te the
detriment oF Mr Ledbetter.

Lae 6d prejudicial * that the ry Could nok be trusted te
disresard i+, " United stedes astay , /09 Fad i104, (24l¢"e- 97)

Vs Fork 17 F.3d Wo, 19 LU 1999) | We First determine vtueflety

Wave tS The Tria\ Court Moused tbe Diseretion in
Benying oO Mistrial

lh Pes ‘ehindor’ OF Review”

We review the denial of ao motion for mishhal fey an abuse
6 dlecretion. United Geter vy. Cover, YIOF. ad aad, a4 (p"eir. 2559)
Dy obese or discretion ists wher tne reviewing Gourk is firmly
Cemvinced that @ mistake has been made. Uniled States 4. Carrell,
Qe F.3d B00, apo (Gor 1997),

be hraviment

Where The govern men LO) neases ply defense counsel acked |

in turtherance OF & consplyacy under the direction 6F the

defendant anc hen imply thet 4 viehm was ied based om |

infar Mahon give by cormsd , 466 cours shewid declaw gq rtstrra/.
ANALY 61S

tha My ledbeers Seferse counsel was invoived jn the iarspiyacy

OY Sbimeho jnPlvenced eyents thet led fo Giystal Fy fe murder.
Wiule the fnal cour} olid issue eurahve snshuathons there ws

A new tial shovle) oly be granked ip the jeprmper ery 10"
The mary converh /s fauryness fo the AtKeadan} . United States

the theallenged HES mony WIS tn proper, ane) iF 3b, there yf-
Was sd clebrl, im proper avi) Rat lo the DC deer.
a)

Page: 29 |

Filed: 04/17/2023

Document: 6

Case: 23-3219

(o'r. aod),
puid Wiliams altomey Mark Collins * 7st0 fr represent him (RUBS,

Win a byfe+ proor Ves} and head @& 3h Ovy hu's lap, fo auch
had qveshioned hin lke he was & detechve +2 Aguve our what

| Inf lteneng wr}nesses- Ld. The Loot shuck tof feshimony , ancl

hat he harm covid not be eased by any MshUchon wich |

he Goort migitt give. Vwited tees vy. Howarel lal F.3d 433 Y5%-SF

( Yi. ao1b)( guohng Darke Stote® y bmith | ol Fda 99, 938(|"Lr. aei0)
Cert dened [2 © C+ [192 (Aoi), Zan mnelKing fis dekermnatim Wwe
Consider 5 factove | 1 whtthy the remark was unsbléc fed , 2) is hella-
Abe _amvecnment> line op quishonng web /eascrable , 3) whether fhe
hind drg Mshuchon>s was jmmedtafe , Clear ° foyer fel , 4) whethe- any
bad Faith ye euvlerce by Government and 5.) whether jhe
Vemayl weds pnly & smell part oF te euydtace agains4 fle
Defendant, Td at 459 [quohng Zyern v. Tale, Bile Fad 478, vax (o™

Government witness Far) Williame coatd thet de€endanf Ledbetp.-
transcript PL 1024-1090), He also said that Mp Ledbejter hae]

Counsel objected . Td: Williams then teshfred that Mr: Ledbette-s
op conse! had visited hn while incarcerated , anc) that he

he had shared vith I's lawyer, Collins Ld. Dertnse counse/
objected ab it Appeared he, Oy MY. Led betes [awiver, was

piricled! Cyahve stud thal the jury suoud yok inser
Nr Led betters Coimsd wes port oe the conspib acy or fe VicLe
Wn chy. (RNAS, pramserjt pt nyse). Then , lalkec, WAM auas
Veptaked thek Mr. Led beter peel *? S00 toy him to have a lane,
Gang then ped) his pn Jawyer f téme ahd see hiin Flue coor
Shuck his answer (RUAZ, trenserpt ms2) ,

Sl

Page: 30

Filed: 04/17/2023

Document: 6

Case: 23-3219

| Defense counsel said that Willian festimong was false, aaal

pow the Jury world tok he Wes @ “twosked laoyer Ld at

NbZ0 - HOSP, NDSS , 1106.

\nethey govecnment vsifness Mtlrong Jones ataic) that when he
dnd Me. LedbeHer were in jetty they would ty ts Frguire oul (F
boMmenne Wab felling ” 8 Tae) lovlded op hames on dine jeal LO wyptler
( whtch dhere Ie HO ax Lompter & Fecatr), and that My. Ledbelters
Aefns¢e Conse! fo)d them and /év tonfrymed jF someone was
it felling,” (R24 transept, Pi ase-0354¢). Jones claimed pha

tne thyermehen fyal defense counsel provided a of Crysfed Fy fe

pudeveds the Cort shuck theb answer. Ld. Comged proved for

pushal, which the Cory} clisexrssed Cxbensively , Ink deri AR Ma 5.

frapser\ph Pi i13Ste" 1442).
Ln Duled bhebes v- Hayes Gh VUhsalicted stefement by 4 U7 NeS4
tha} she wae ofrard oF the dchendants Feana hy wailing ootstele

the covtraam did not ment for mishtal, sinee jk was unrelated
de any given menb guethoning , & puney part oy tat feshrasng ad
tial and was fol(dwed by au” /navaecliote Clear aad forethu/
nstruchom, 399 F. Appx 5'T 54-40 [if buy. ge70)

This cast 1 ats Hinguishable from Hayes in that the Shakements mace

here Were in fact a jnajor pact oF the trial. Doth witnesses were Key

Coopevahng in tnesses for the GUE N ment. Gane made claima gihg S4irys

_ ageunsp both defense const! and My. Lbedbeter . That Weighs heavaly,

h My. bedbeHers Fayoy for mishral undir fhe fifth factor o¢ Jia |
elements rim 2uem y. Tate., Supra. That element asks JF Hoe

Stalemenfs mack cand objected fs wee daly a sinall paid of the

Qi. ence o1 geuvast The heteadant- heve They wee not.
Page: 31

Filed: 04/17/2023

Document: 6

Case: 23-3219

insinuate defense counsel was volved th ahy Waxy 1 the
alleged Conemacy , lab ost | moby Fart ly (s Caused Oa cafe
trial for My. Ledbetter , and qe mistrial should fave beer

Voihder A .2, Ae, lburfs bum inshuchins fp thi jury made Chkar

Tn fac, They Wee hishly prejvdlcial . Witness Will/ans paying
Nic: Ledbetter acl his counsel 9p fp the jou to Uisy} him, 4 Co -
L Lonspira tor | and Then witness Tones baying tha} Ny. bedbocHer 5
Const] confirned whe as Cooperahrg ptsuited jl Crystal Fy f Fes
death, macle st appear that My fedbeHer could have people ale
hing hie ne as in youl _ Shis played pight into the goyanmears
allegehions ab nhow Fyffe Vas Killed and that he was senting
Gut lis lawyer fs jnfluence pepple: To at 1og4- soe

Lk wm completely ‘improper for government witnesses te

grentedk .

eu ™ The. Genera) Verd/ef-

The veradech form norably aid nop require the Jary fo apcuty the
basis (cithe- the remy 0, or predicabe for) fre Counts 14,4, 10,24 3, 31,
ond Joiner Conte [€9. To the cohipany foe govt « sought dbnly 4 gered
perdiet oo fo ead Count jin The indictment , including the dechir FA4C)
cots. Under the deFinifon in dechin Wile) in lounfs jd, 3), and

Nap (ime f " packe feering conspiracy oFFense could be a predicate
“daring TrwF FicKing ine for Counts J0 A ond J-h-A and whder
Fhe Cateuncal aporoach | hese feasts must be as the operahVve
predtiate for coms id Bl pnd J-4 A, due fe fhe general verdicy

Oh Ahege counts
Be

Page: 32

Filed: 04/17/2023

Document: 6

Case: 23-3219

aged YpbIn Nye Cam d: Conopy Aty lp commit (acketreerinsg of Fence
OS a meter OF lau & tond) Van) tp Commi packs feerng pediicatec) On

Ny erther wary) wood we settee ny ohare +e py needed +s
be Uhanimovs to Anat * Ways Nopeldy. however , diye Cort Aca nab

Corvus 10,31 and 5.2 oF the Mndictmen) here charged Mp. Ledbetter

with ving a Arearm doying cand in relahon fo a divy trafficking entwe, ih
VWUiblalon ge IBULS.c: gechon 44(c) and (3). im that regard _ Se \idi'c-} aen-
Speci tied Vhot  erywres alleged M either cots 4/4,10, A, 20,3) anc J.chs
\e’J coud be peedtcate Poy Count A. Moreover , the Cour} addi hisna\ly
Clarified For the Sury that if Trey ford Led exer quilly 6 ether

' Lonspiyacy ortenss , That they wud Find jim galhy of the otters -

| \Whule Yyeee Wut Thos Bevrral different Theones oy Ulrich te Jey
Were cod Wave Found My. Ledbetter ui hy ce Cnt? [0 i and m.cha

)

Ave Use OF & rear during and wn lato + «a clivg hrefh'ckineg
Cine vein COnspaoy | Ay Well as a4 matter of law as app (red
5 Caktomcally ViraWis . These ihshuchons potabiy ted we _jony
Aw Aney Could Ad peri hiner ously oF These coms mr hwo oven
Ways. \ VR HF be Argan dung on Owox afhicking Cue OF, 3) conspiracy
\e Commit Facketeerine - | he Cour} epecitred Wat j} wes vet
heceseary for Yhe gov. to pea pethoner violated the lace in
rr ways’, pO ewnd 0 wemvviquble dysbt har \e commithed i+

épecthy That Unamity wab Veguirtd os te Tne precheate fernung

Aine Voss for ether “way” OF viblatng Comt 1.10 ew Ot 2, |

ror did We verdict forms repave epeciGreecien In Thar ceyul

O6 to The prney coms: Pehihener Ar aves that Ye pry Were rebumec

a general verdiich wrihout bred yng which Predicate offenses Formal

lousis of Seehion Kaul) remachens aX dAlivan v. Ls SCS UY.) A1s-aei (1993) »
&l

Page: 33

Filed: 04/17/2023

Document: 6

Case: 23-3219

Timproper jury Mghuchune not harmless \pecause eee epi’ te,
Senias Aosb} Whetver The ped hone received Ane dve process
Cywovan yeed OF Fesndamente) Fory ness. Pebtner Orases “Hret the
Cumalahye etfeer OF errors committed On cams L.AN© 3) &D cho
ip nor Nevimless \peeange Mekivion of Omitted Qemen+ covid have
Codteally \ed wry fo different verdob. Yee also Taylor v KY 43 US.
YP 48? val6 ng) aa, Thus, as peh hen Lxplauns, Mrs cot cant Kaw
Web | iF anything , Aye ry foam wrth reaond 15 Ledbetters comiecdien
ty Or Aun ond These pret’ uate crwme. Ta. Mer all, On acne Vera tot
oF malty dows por veyeal @Ay Uhanimovs And ing ey he ery hab
Xwe defendank was puilly SF conspinng vse a firearm dung one of
Tne potential predliale offenser tn Any oy all oF predate cFfenses,
ov an ly oF conspiring Aun sowe and net overs tal

A

| The Courk continued that “Tit \ak o¥ specificity as added (yt

hynendiment Blanifyancs. Under Mleyae v. United Sbotes , 570 US 49 (2013))

| Pecaupe beck S44(c) in Comte 10, 3] e3.Q joan esiembe) element:

Th nergages re Inada Tony minimum ime Mo Ledbetbers cose te “deat” based

On & Annding The Perhiner ved o fAyearm . Ld Mleyne held fot beers

Xnese Findings yn Cty. 10,3), 5-44 increased the merndafery uh) ron
Benkence, Ney ave elements nat must |pe pesubmitred te Pie jury
bad fords beyond & (Lapable doy . ( quohiy Allene S70 Ud-ablox)
vd _ aw nalte}ment tna} lis mulnple predicates baséd 6n a Sectim
44A4 0) Coms aitoss for a defendants Mandatory mmtmurm to be
Meveased Wwithat The Unaninaity Mleyne required Ia. Tas, ctr be the
Court Can nue Te reword a uch predicts rej uy
Page: 34

Filed: 04/17/2023

Document: 6

Case: 23-3219

_feélied on Cte. },16 3} Oa , Alleyne expressly prolulits Huis
Wype oF paioral Fneb Finding unen ib Comes ty In Cyeasing petrttenes
men dacory Minimum senterce. |d at \O29%.

The easioing in Oniled Gots vs Williswusn , S14 Fea. Mpa 29D (tle.
Qoi4) vequies his Covr} fp CYisrugs Counts (dal Ocha whith The
Jury must rer analyse comnts Ib, 31S: CA conviction Hm tentrany diets]
Finding would welate the lene ahd the dxf Amendment and 1+
Wwaald Lentarrly per the govr to bene} from the duplicitou s
ndidment thet if dpatted.

The leash culpable - OF Fenge cxpayo ach |S bel seve by Shepard Vv:
United Skate, syy Us (3 (acos) Where a slebute of conyrhenr I's
_diinble nto alfemahve glements comstifubng dishnek offenses ,
Sheprd dudhon2es corerts fo consider limited set of documea/s
Ane uh “ necessenly " and * ConcresiVOy " j denh¥y the Dtfendanis
Fens, oF penuthon. 1d cet IQ, Al, a4-Ae , Given that “demand fox
Cevdamby “Jd at Al. Where as here Shepard doceements do not establish
Ahe nme foy which the defeadant wes" NCeessan hy i. Convitsted,
Ne Cour megk assume +hel he was “ necessanly” cemurted of
fhe least Bexrious one. bee. Joragon yw Vauted dlefes 659 Yd 133 IF
—(Abi0) : Applying the lowe fre court bheuld pecouuze thal the
naichneat Conpnchvely charged ledoerfer sth force lepellg Aired
Bech 4AY4lc) sPFenges pircclicafe on Couns 4 jo, 3), IG: A), one based
_m™M Cans piladry to tommy- packepeenng , one bated on canspi Pac
fo possess wyth ihtent fo dish bute } Throgs Use OP a hrearm aurng
Gnd in _yélahon fo a dyay trea clkng came preeiitate «(Lo

lov COnspiVicy
@)
Page: 35

Filed: 04/17/2023

Document: 6

Case: 23-3219

That Bituahon 1b anglosvous fo a shafufe op tonrichons that js
Chiusible nto mulbyle offeases. Ad heve, the indict ment j the puey
_Inchmchon cond fhe verdict on (vats | 10,31, T-cha ave srhent
as fo The prectse Sechim F49¥¢c) OfFense fer uur pehtime-

wat conicheds ecause no Shepard dochuents Lethe phe Indezhuet
yy Jngtruchin s oy LeyaAtel foymrg ) necessary Qael consecutively
Ostublish tne Mehon [ay (c) sFfeas? for whuth pehhoner was
| Conjehed | tug Court must Assume ib was based on fre. beast
gevivvs predicafes fhe conspNacy) to possess wrth phfenk fo distribute:
| Frnailly neh peel} (& Fortney BLeppor ted hy Stromberg ve Calbernin,
| A®3 Ud. 859 (193) ond _/}s progeny | hich hoids that 4 genece| ve rdecf
must be set aside ie fhe yey was shsfructeed fhat \} could rehy on
{Gin ws OY more inele yeaden + grounds , and one these qyrotnd §
is Msofhuenk’ because fhe yerdacch may hate rested axcasively
on The jnsutBereat gyeud , Zant vi Seppeas Yya Us. OA , Bel
(1982). Dn such wYeumsfances it 16 [m7 go55i ble fo detevim mé om
ith ass fhe jury yeuthed ifs verclic} , 56 deAeivency Only one oasit
requires the enhre Werdie} fo be set ascde’.
Maple fiere , Toe F4Y(c) comuickins io Chy-10, 31, Tb A, dn due gene)
Veeat Could have Voeorehically been based on & censpivady bb porses® wen}

Ankent fo desiree (Valid) ov a patkelcenny Conspiveeby fan mvelitd grerid Ler

dhe vengons Sree above). Ledbeiey clees. nop Only seek te ser aside See¥i'm

FAY) obs on tre bays ot dupiiruly , he also Seexs that the (art vacate

Crs ond T aS bess nuxlid. Ln gum, te avard cvedctny G deg lies ees $ |
Indictned contribs tue pehonale oF \)|lfarmsen » urclabhg flee rules of
Mleyue, Shrepeya z Shrombecg , The Corert Shealed age the conspiliety precWcrde to)
Culyze lis Gethem C2ylc) comizhyos on G}s- 10,2) © 5.ch-F
Page: 36

Filed: 04/17/2023

Document: 6

Case: 23-3219

Verdlt+

Keli Snogh} for Dead of Mishra» Goes
| The Davis DEGsibyy made i} Coystal clear , bFler congiracy, Me
overt ac i's (EGUYY Gre! tht ualar-fu) & grtemenf Can be pontshee Lut

© the gedsturhve come is yeytr committed. wunspiyacy Can neF

SEYVE ash a preelicate ¥en? neler Faylc). Henve Pe haners
Cuanthms on Conf i) IWyee) 2 (FT) must be Vatated and ¢
JAgmect OF a couiifel enfered Oy The record See july shstruchens
P29 pie & F446 generally f5E: AT-FS «

Fehhione pequesls fhob lis Special Sentencing Capancemens Useler
M9yald) be pemeved and he be jenfened 4 the Statuatery Pei prety

oF go years on ali coumls oy Conithcus: Pecause Ite ard )45914)
CD) AeGnihin oF a@ bane pe Ablene is derived from ISUS¢. (& (9)

ondrlb> ond a Rico Consp/yaey aves ot qualify BS a c ategenrea!
Cnet OF Wodlence Under the vesicleel Clalesa sttuck clowa se
Sahnsen oy Di MAYS

| Pecuese He jury Nasvuch ons joe) all coumtS 6€ convichim 7o
CLL. jntve vipleak Ones spruchims. See ishuchs * 52-34 pgs
UT? And there was NO spected verdict form fs fefevewhe uilyte

elternabve ehevrent their yerlic? sas based 04. tne & Frhdikg
OF on altednahve element dyer the ohne /$ used fo enhaace 9

Statence beyond what world oYherwist be He sfetra tory
maximum: Wr Stuleace oF Ab years pmeximuin press be /mposed -

Gee! Edwards v. United Sales 52% US Si0998) And Unik! Skebes

Vi Deke , 173 F.3d 429, 424 (67 ov. 19%) -
Case: 23-3219 Document:6 Filed: 04/17/2023 Page: 37

Condwsjeon

— Wheetre now My-Ledbapfer Larges tO honorable Coure Jo pssve |
a CevPicafe OF Appealelrlita Aufhenizihg hi\n b ay, eal fhe Listith
CGowts déeual b¥ his Lonsh fuiemal Ane proc uve) Claias |
povestated herein.» Ln tye alternate , Anyis Coif may grant |
a Cok ond ranand for furfher prvceed ings.

Keryecl fealty dbinit}Hed wn this (yt day JF Apr! , WAS

\Phuf 6. phuctfe-

| CeckBeate oF Service

_F, Rober} B. Ledbaler  f7ey oe! herby cerh¥y hat L have
seed g frue Copy of The follucyng : “Mohom fer Dssuance of
Ceyhhicafe ot Appedabiliby ((0.A)", whith js deemed tried af
the Ame (t wos delivered to Phson Auheritres fer fovitarechy |
do tie Cry}. See Huston V Lack pb} Lita ad 395 1/942), upon foe
Cow and Perhes fp Ubiechen by placihg jn & geoked, postage
prepare! envelope and clegesbee tre Lined Sfefes Postel pmai/

tn Sols | tT Say one April , MOZSB +

J GL4d B ALM kOe Robert p. Ledbetter |
LL # Grol die! |
Lim eel Sfoles try fendyrorg
JO: (7b A094
Pollack, LA W467

“IN THE UNITED § STATES ‘DISTRICT COURT - c=
= FOR THE SOUTHERN DISTRICT OF OHIO — ae ee
Sees EASTERN DIVISION Ee

Case Nos. 2:14-cr-127, 2:15-ct-80--
is Civil Case Nos. 2:20- cv-5733, 2:21- ‘ev-1120

Chief Judge “Algedou L, Marbley

ROBERT B. LEDBETTER,

i “ Magistrate Judge Michael R. Merz
Defendant.

00 ORDER
cD
This proceeding under 28 U.S.C, § 2255 is before this Court on Defendant Robert B.
Oo

Ledbetter’s Motion to Vacate (ECF No. 1681) and Amended Motion to Vacate (ECF No. 1772).
oD
a : : a fe a}
o In the first Motion, Defendant sought to have this Court set aside his convictions and sentence on
NC
> all counts and grant a new trial. (ECF No, 1681 at 45). In the Amended Motion, Defendant sought
oO
3 to have all orders entered in this § 2255 proceeding set aside before he signed the original Motion
iL

for lack of subject matter jurisdiction on the theory that the signature requirement in Rule 2 of the
sy ~ Rules Covering § 2255 proceedings was jurisdictional.
O- ee
E TL a Report and Recommendations CRER) filed May 19, 2022 (ECF No, 1778) and a
2

Supplemental R&R filed ‘August 5, 2022, after ‘feccunrrittal (ECF_No, 1795), the assigned

‘ig : Magistrate Tuige pcorrinronded that Defendant’s subject matter jurisdiction claim be rejected.
Then on Anoaeé 9, 2022, the Magistrate Judge recommended that the original Motion to Vacate

be denied. (ECF No. 1796). At the suggestion of the United States Attorney (ECF No. 1821), the

Case: 23-3219

Magistrate Judge amended the R&R on the original Motion to recommend that Ledbetter’s

conviction and sentence on Count 31 be vacated as precluded by U.S. v. Davis, 139 S. Ct. 2319

(2019). (ECF No, 1822).

Oo

oO
®
oD
O

oO

Filed: 04/17/2023

Document: 6

Case: 23-3219».

Case: 2:15-cr-00080-ALM-MRM Doc #: 114 Filed: 01/09/23 Page: 2 of 2 PAGEID #: 789

On November 14, 2022; this Court opt the eee Judge’ 8 pending R&Rs and 3 seas

ordered the § 2255 motions denied. (ECE No, 1826). On th the. same day, but after fhe Gidebs wa

a

docketed, the Clerk recelyed and docketed Obirek ions from Defendant EEN. 27), The next

ol asp ea a Se =r

die this ‘Court vacated. its adoption ender and recommitted the case to the Magistr ate “Iudge t to

permit ‘full consideration of Be. ee (ECE No, 1829). Upon consideration, however, the

Magistrate Judge struck ihe: Objections as untimely. (E CF No. 1830 )..

The Magistrate Judge’s Order striking the Objections was filed-and served November 18,
2022. Any objections to that Order were due to be filed no later December 5, 2022. No objections
have been filed as of the date of this Order and Defendant has therefore waived the right to object.

Accordingly, this Court RE-ENTERS its findings and conclusions from its Order of
November 14, 2022 (ECF No, 1826) and the Motions to Vacate (ECF No. 1681 in Case 2:14-cr-
127 and ECF No, 98 in Case No. 2:15-cr-080) are DISMISSED WITH PREJUDICE, except
that the conviction and sentence for Count 31 are VACATED, All other terms and conditions
outlined in the March 24, 2017 Judgment and Commitment Order (ECF No, 1478) shall remain in

full effect and force.

. Because. teqsonable jurists would not disagree with this conclusion, Petitioner is denied a

ee certificate ae appealability, and. this Coutt certifies to the Sixth Circuit that any appeal would be

objectively frivolous and should not bé permitted to proceed in forma pauperis.

IT IS SO ORDERED. J
es
/ ZA I A
ey / wn SS,

—"

ALGENON. MARBLEY
CHIEF UNITED STATES DISTRICT JUDGE

DATE; January 9, 2023
I

2 i on,

